Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 1 of 12 Page ID #4849




                   EXHIBIT A
Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 2 of 12 Page ID #4850




1                  IN THE UNITED STATES DISTRICT COURT
2                 FOR THE SOUTHERN DISTRICT OF ILLINOIS
3     ------------------------------         x
4     CATHERINE ALEXANDER,                   :
5            Plaintiff,                      :
6     v.                                     :
7     TAKE-TWO INTERACTIVE SOFTWARE,         :    Cause No.
8     INC., 2K GAMES, INC., 2K               :    3:18-CV-0966-SMY
9     SPORTS, INC., WORLD WRESTLING          :
10    ENTERTAINMENT, INC., and               :
11    VISUAL CONCEPTS ENTERTAINMENT,         :
12           Defendants.                     :
13    ------------------------------         X
14
15                         Zoom Video Deposition of
16                              EDWARD M. KIANG
17                          Tuesday, August 4, 2020
18                   9:04 a.m. CST to 12:24 p.m. CST
19
20
21
22         Job No.: 311575
23         Pages: 1 - 122
24         Reported by: Melody Stephenson
25         BBA, FCRR, CRR, CRC, RPR, RSA, MO CCR #406
Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 3 of 12 Page ID #4851


                          Transcript of Edward M. Kiang
                          Conducted on August 4, 2020                 49

1     pay-per-view posters.       But, again, trying to keep               09:59:20
2     it consistent with the overall theme of -- of how                    09:59:23
3     we present our brand in our core products.                           09:59:27
4         Q   Okay.   Thank you.                                           09:59:29
5             Let's just -- let's just talk about the                      09:59:30
6     WWE 2 cames -- 2K Games, okay, and the WWE                           09:59:35
7     approval process.       So in conducting the approval                09:59:36
8     processes for IP elements in the WWE 2K Games, was                   09:59:39
9     the WWE looking for realism?                                         09:59:52
10        A   I don't know that -- so realism isn't                        09:59:52
11    really a criteria for us.       It's -- it is -- you                 09:59:56
12    know, again, we -- we just try to ensure that                        09:59:59
13    it -- it looks consistent with how we represent                      10:00:01
14    the talent in our shows.                                             10:00:05
15        Q   And when you say "shows" --                                  10:00:05
16        A   Realism is more of a function of, you                        10:00:14
17    know, how good the technology is for any                             10:00:14
18    particular year.                                                     10:00:16
19        Q   Sure.   Sure.     But when you say "how your                 10:00:17
20    talent looks in the shows," are you referring to                     10:00:23
21    the television programming?                                          10:00:24
22        A   Correct, and pay per views.                                  10:00:26
23        Q   Okay.   So is one of the goals that WWE is                   10:00:28
24    trying to achieve in its approval process                            10:00:35
25    attempting to achieve an accurate representation                     10:00:39


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 4 of 12 Page ID #4852


                              Transcript of Edward M. Kiang
                              Conducted on August 4, 2020                50

1     in comparison with the television programming?                Is        10:00:44
2     that right?                                                             10:00:44
3               MR. KRASIK:     Objection.     Misstates his                  10:00:44
4     testimony.                                                              10:00:44
5               MR. SIMMONS:     Objection.     Mischaracterizes              10:00:51
6     the witness's testimony.                                                10:00:54
7         A     With respect to these games, I think one                      10:00:56
8     of the goals is -- is to try to, again, give --                         10:00:58
9     give the fans an authentic WWE experience that                          10:01:03
10    represents what they're familiar with seeing in                         10:01:07
11    our TV programming.                                                     10:01:09
12        Q     (By Mr. Friedman)      Okay.    So -- so --
13        A     Ultimately, it still needs to be fun,
14    though.     I mean, it's -- it's a game.          You know,
15    we're -- we're -- we're not trying to create or
16    you're not making a TV show.           You're playing a
17    game.                                                                   10:01:20
18        Q     Sure.   So it -- it's accurate to say,                        10:01:20
19    though, that the WWE wanted the -- the video game                       10:01:23
20    characters to look like they looked on television,                      10:01:28
21    isn't that right?                                                       10:01:30
22        A     Yeah.   I mean, at -- at the end of the                       10:01:34
23    day, I think, you know, 2- -- 2K will submit a --                       10:01:36
24    at least -- again, with respect to these games,                         10:01:39
25    2- -- 2K will submit models looking like what they                      10:01:43


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 5 of 12 Page ID #4853


                              Transcript of Edward M. Kiang
                              Conducted on August 4, 2020             51

1     want them to look like and -- and, you know, based                   10:01:47
2     off of the art style and direction they're going                     10:01:49
3     for, we try to look for, you know, whether or not                    10:01:51
4     there are any inaccuracies with respect to how                       10:01:53
5     they portray the talent.         But -- but, you know,               10:01:56
6     I -- I wouldn't say that -- WWE does not art                         10:01:58
7     direct 2K.        2K decides what product they want to               10:02:01
8     produce, how it should look, and we provide them                     10:02:06
9     guidance if we feel like it's incorrect in some                      10:02:09
10    manner.                                                              10:02:12
11        Q     Okay.     And I think you touched upon this                10:02:12
12    before, but does that approval process for talent                    10:02:16
13    models include reviewing the character's body                        10:02:21
14    type?                                                                10:02:24
15        A     That's correct.      It could be -- it can be              10:02:26
16    inclusive of that.                                                   10:02:27
17        Q     Okay.     So -- so is it -- so the WWE was                 10:02:29
18    looking to make sure that its talent models'                         10:02:34
19    bodies look like they look on television, is that                    10:02:37
20    right?                                                               10:02:41
21        A     Yeah.     So that they look the way that we                10:02:41
22    would want them portrayed in our programming --                      10:02:44
23        Q     Okay.                                                      10:02:44
24        A     -- and in our other marketing collaterals.                 10:02:46
25        Q     So -- all right.      If, for instance,                    10:02:49


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 6 of 12 Page ID #4854


                               Transcript of Edward M. Kiang
                               Conducted on August 4, 2020            52

1     Take-Two had presented to WWE a talent model with                    10:02:53
2     a body type that was much different than how that                    10:02:58
3     talent model appeared on television, what would                      10:03:03
4     WWE do?                                                              10:03:07
5                MR. KRASIK:     Objection.     Form.                      10:03:09
6                Go ahead and answer if you can.                           10:03:11
7            A   We -- we would probably have some                         10:03:13
8     questions with the team.          You know, again, it                10:03:15
9     depends -- if we're talking specifically for this                    10:03:18
10    product, we would tell them that it probably                         10:03:21
11    looked inaccurate and would want to understand                       10:03:24
12    their rationale for why they do that.                                10:03:26
13               There could be instances where, you know,                 10:03:29
14    and -- and for certain games, there are story                        10:03:31
15    modes where maybe it goes in a different                             10:03:34
16    direction.      You know, for example, I don't believe               10:03:36
17    it was in one of the games in this round, but                        10:03:38
18    it -- in one of our more recent games, the story                     10:03:41
19    line went into the future and someone had a bionic                   10:03:44
20    arm.                                                                 10:03:48
21               You know, so that -- that's a conversation                10:03:48
22    of understanding, okay, well, this is not past                       10:03:49
23    brand assurance, but in the context of the story                     10:03:52
24    you're trying to create, we'll allow this.                           10:03:54
25           Q   (By Mr. Friedman)      Okay.    I think you used          10:03:57


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 7 of 12 Page ID #4855


                            Transcript of Edward M. Kiang
                            Conducted on August 4, 2020               53

1     the phrase "accurate representation" earlier.           So           10:03:58
2     let's try and understand what -- what would WWE do                   10:04:05
3     in the event that it received from Take-Two or 2K                    10:04:07
4     a talent model product that was under review that                    10:04:11
5     was not an accurate representation in WWE's view?                    10:04:17
6             MR. KRASIK:     Objection.     Mischaracterizes              10:04:23
7     prior testimony.      It involves a hypothetical to a                10:04:25
8     fact witness.                                                        10:04:31
9         A   If we received a submission that looked                      10:04:31
10    inaccurate, we would -- again, assuming that we                      10:04:34
11    noticed it, we would flag it for comment and --                      10:04:36
12    and -- and have to make an adjustment.                               10:04:45
13        Q   (By Mr. Friedman)      Okay.    Would WWE                    10:04:47
14    approve a submission for the video games that was                    10:04:49
15    not in WWE's view an accurate representation?                        10:04:52
16            MR. KRASIK:     Objection.     Calls for                     10:04:58
17    speculation.                                                         10:05:00
18        A   Again, without knowing if there were                         10:05:02
19    particular context or why they might make that                       10:05:06
20    change, it's hard to say.                                            10:05:10
21        Q   (By Mr. Friedman)      Okay.    All right.    Are            10:05:11
22    you familiar with Andre the Giant?                                   10:05:18
23        A   I am.                                                        10:05:21
24        Q   Okay.   And Andre the Giant is a very tall                   10:05:22
25    man, right?                                                          10:05:27


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 8 of 12 Page ID #4856


                              Transcript of Edward M. Kiang
                              Conducted on August 4, 2020             54

1         A     That's correct.                                            10:05:28
2         Q     Do you know how tall he was?                               10:05:29
3         A     I -- I do not.                                             10:05:33
4               MR. KRASIK:     That's a closely guarded                   10:05:34
5     secret.                                                              10:05:37
6         Q     (By Mr. Friedman)      Now, An- -- Andre the               10:05:39
7     Giant has been a featured wrestler in the WWE 2K                     10:05:40
8     Games, is that right?                                                10:05:47
9         A     He has been featured in the game, yes.                     10:05:47
10        Q     Okay.   As one of the main WWE wrestlers                   10:05:51
11    in -- in the roster of the video games, right?                       10:05:53
12        A     That is correct.                                           10:05:59
13        Q     Let's use a specific example.         If Take-Two          10:06:00
14    had submitted a talent model of Andre the Giant                      10:06:03
15    that appeared to be about 4 feet tall, what would                    10:06:08
16    the WWE --                                                           10:06:14
17              MR. SIMMONS:     Objection.     Incomplete                 10:06:20
18    hypothetical.                                                        10:06:21
19        A     Yeah.   We would flag it saying that does                  10:06:24
20    not look like an accurate -- you know, or An- --                     10:06:26
21    Andre the giant looks too small.                                     10:06:29
22        Q     (By Mr. Friedman)      Okay.                               10:06:29
23        A     Understand why you would try to do that.                   10:06:35
24        Q     And let's assume that the WWE would not                    10:06:37
25    consider a 4-foot tall Andre the Giant to be an                      10:06:41


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 9 of 12 Page ID #4857


                             Transcript of Edward M. Kiang
                             Conducted on August 4, 2020              55

1     accurate representation of the WWE intellectual                      10:06:44
2     property.       Is that fair to assume?                              10:06:47
3         A    Yes.     Without context, we would -- we                    10:06:50
4     would probably reject that.                                          10:06:54
5         Q    Okay.     All right.   That -- that was going               10:06:55
6     to be my next question.                                              10:06:56
7              So but the WWE obviously has the right to                   10:06:58
8     not approve or reject content that it finds in its                   10:07:02
9     opinion is not an accurate representation, is that                   10:07:06
10    right?                                                               10:07:10
11        A    If we feel that it does not properly                        10:07:10
12    reflect the brand.                                                   10:07:14
13        Q    Okay.     And in those instances, WWE has the               10:07:17
14    decision to make whether to approve or not approve                   10:07:20
15    a particular talent model or other submission,                       10:07:23
16    right?                                                               10:07:27
17        A    That is correct.                                            10:07:29
18        Q    Why is it that the WWE might withhold                       10:07:30
19    approval from something that is not an accurate                      10:07:38
20    representation of WWE intellectual property?                         10:07:41
21        A    Well, it -- we feel like it wouldn't                        10:07:45
22    depict the brand in -- in the proper light in                        10:07:49
23    terms of, you know, providing a -- a, you know,                      10:07:51
24    WWE experience to our fans.                                          10:07:56
25        Q    All right.     You mentioned not depicting                  10:08:01


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 10 of 12 Page ID #4858


                              Transcript of Edward M. Kiang
                              Conducted on August 4, 2020             70

1     model that lacked any tattoos?                                       10:38:58
2               MR. KRASIK:     Tony, you muffled on a word                10:39:01
3     in your question.       Would you mind restating it                  10:39:04
4     please?                                                              10:39:07
5               MR. FRIEDMAN:     Sure.                                    10:39:09
6          Q    (By Mr. Friedman)      Why is it that WWE                  10:39:09
7     would not have approved an Orton talent model that                   10:39:10
8     lacked any tattoos?                                                  10:39:14
9          A    Because it would not have been an -- a                     10:39:21
10    accurate depiction of Randy Orton the person.                        10:39:23
11         Q    Why is it that the WWE would have rejected                 10:39:29
12    a Randy Orton talent model that had tattoos that                     10:39:31
13    were different from the tattoos that Randy Orton                     10:39:35
14    has in real life?                                                    10:39:37
15         A    Again, it -- it would not be an accurate                   10:39:42
16    depiction of Randy Orton.                                            10:39:45
17         Q    Okay.   Thank you.                                         10:39:47
18              And similarly, why is it that the WWE                      10:39:49
19    would have rejected a Randy Orton talent model in                    10:39:52
20    which the character's tattoos were blurred out?                      10:39:55
21         A    It would not have been an accurate                         10:40:01
22    depiction of Randy Orton as he appears in our                        10:40:04
23    program.                                                             10:40:07
24         Q    Okay.   So was it important to the WWE that                10:40:07
25    the Randy Orton talent model be realistic?                           10:40:09


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 11 of 12 Page ID #4859


                             Transcript of Edward M. Kiang
                             Conducted on August 4, 2020              71

1          A   Again, I think realistic is a little                        10:40:18
2     subjective.      For us, it's -- it -- you know, we                  10:40:21
3     want to maintain that there's a -- a level of                        10:40:26
4     accuracy to the brand.        Inclusive of that could be             10:40:28
5     Randy Orton's tattoos on Randy Orton's body.                         10:40:34
6          Q   Okay.    And that was an important                          10:40:37
7     consideration for the WWE, is that right?                            10:40:39
8          A   I wouldn't -- I wouldn't characterize it                    10:40:45
9     as saying that his tattoos are an important                          10:40:49
10    decision within our approval process, but it                         10:40:52
11    would, you know, wholistically, it would be                          10:40:55
12    something that would be noticed.                                     10:40:59
13         Q   Okay.    But the tattoos on Randy Orton were                10:40:59
14    important enough that without accurate                               10:41:02
15    representation of the tattoos, the Orton talent                      10:41:04
16    model would not have been approved, isn't that                       10:41:08
17    right?                                                               10:41:14
18         A   Presumably.     Again, it -- it's hard --                   10:41:14
19    it's hard to speculate unless we know the                            10:41:17
20    difference that we're talking about.           Some things           10:41:19
21    might go unnoticed depending on the resolution                       10:41:22
22    and -- and type of change but --                                     10:41:25
23         Q   In order to approve the Randy Orton talent                  10:41:28
24    model, does -- did the WWE need to make a                            10:41:31
25    determination that his tattoos were an accurate                      10:41:36


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Case 3:18-cv-00966-SMY Document 266-1 Filed 09/07/22 Page 12 of 12 Page ID #4860


                               Transcript of Edward M. Kiang
                               Conducted on August 4, 2020            74

1     made available for the scans.                                        10:44:13
2            Q   Okay.   All right.     Is it the case that in             10:44:17
3     order to create an accurate representation of                        10:44:24
4     Mr. Orton's tattoos, those tattoos need to be                        10:44:30
5     copied onto the Randy Orton talent model?                            10:44:34
6            A   I'm not sure what you mean by "copied."                   10:44:43
7     I -- I -- you know, so they -- they -- they take                     10:44:48
8     reference photos, and they, I guess, apply that                      10:44:49
9     towards the model.                                                   10:44:52
10           Q   Okay.                                                     10:44:54
11           A   I -- I'm not certain the technical way,                   10:44:55
12    if -- if that then gets hand drawn, if that's                        10:44:58
13    scanned with a computer or, you know, from -- from                   10:45:01
14    that I couldn't tell you.           I -- I know that they            10:45:03
15    take scans and -- and then they submit models for                    10:45:05
16    us to review.                                                        10:45:08
17           Q   Okay.   Understood.      Thank you.                       10:45:10
18               Mr. Kiang, do you think that WWE fans                     10:45:18
19    recognize their favorite wrestlers?                                  10:45:25
20               MR. KRASIK:     Objection.     Calls for                  10:45:27
21    speculation.       Outside the scope of the 30(b)(6)                 10:45:29
22    notice.                                                              10:45:32
23           A   I -- I -- I believe it's fair to say that                 10:45:32
24    fans would recognize who their favorite talents                      10:45:34
25    are.                                                                 10:45:37


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